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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

  DISPLAY TECHNOLOGIES, LLC                     §
                                                §
                                                            Case No. 2:15-cv-1631-JRG
        v.                                      §
                                                            LEAD CASE
                                                §
  RICOH AMERICAS CORPORATION, et al.            §
                                                §

             JOINT MOTION TO ENTER AGREED DOCKET CONTROL ORDER

        Pursuant to the Court’s Order dated January 22, 2016 (Dkt. No. 18) and the February 22,

  2016 Scheduling Conference, Plaintiff Display Technologies, LLC and Defendant C&A IP

  Holdings, LLC have met and conferred and hereby request that the Court enter the attached

  Proposed Agreed Docket Control Order.

        DATED March 7, 2016.                        Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 7th day of March, 2016, I electronically filed the foregoing
  document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
  Division, using the electronic case filing system of the court. The electronic case filing system
  sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
  accept this Notice as service of this document by electronic means.

                                                /s/ Neal G. Massand___
                                                Neal G. Massand
